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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF COLORADO
   In re:                                         )
                                                  )
   Anthony Romero II                              )
   xxx-xx-0536                                    )

                                                  )     Case No. 09-13729-MER
                 Debtor                           )
                                                  )     Chapter 13
   BELLCO FIRST FEDERAL CREDIT UNION              )
   a/k/a BELLCO CREDIT UNION                      )
                                                  )
                 Applicant                        )
                                                  )
   vs.                                            )
                                                  )
   Anthony Romero II                              )
   Ms. Sally Zeman TRUSTEE                        )
                                                  )
                 Respondents                      )

   ______________________________________________________________________________

                                  PROPOSED ORDER
    ______________________________________________________________________________

   Pursuant to Applicant’s Motion, the Motion to Withdraw is GRANTED, and the Motion for
   Relief from Stay (docket # 39) is WITHDRAWN.

   Dated November 16, 2010
                                              BY THE COURT:




                                              Michael E. Romero
                                              U.S. Bankruptcy Judge
